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 1   RICHARD E. ZUCKERMAN
     Principal Deputy Assistant Attorney General
 2
     NITHYA SENRA
 3   Trial Attorneys, Tax Division
     U.S. Department of Justice
 4   P.O. Box 683
     Washington, D.C. 20044
 5   202-307-6570 (t)
     202-307-0054 (f)
 6   Nithya.Senra@usdoj.gov
 7   Attorneys for the United States of America
 8                                  UNITED STATES DISTRICT COURT
 9                                 NORTHERN DISTRICT OF CALIFORNIA

10    United States of America,
                                                           Case No. 3:20-cv-3818
11                    Plaintiff,
              v.                                           COMPLAINT
12

13    Michael S. Ho and Li H. Tay,

14                    Defendants.

15          Plaintiff, the United States of America (“United States”), through its undersigned

16   counsel, alleges the following:

17                                              Introduction

18          1.       This is a timely civil action brought by the United States with the authorization of

19   the Secretary of the Treasury (31 U.S.C. § 3711(g)(4)(C)) and at the direction of the Attorney

20   General of the United States.

21          2.       The United States brings this timely action to collect from defendant outstanding

22   civil penalty assessments (31 U.S.C. § 5321(a)(5)), commonly known as FBAR penalties, which

23   were assessed against defendants Michael S. Ho and Li H. Tay for their willful failure to timely

24   report their financial interests in, and/or their signatory authority over, foreign bank accounts for

25   the 2011, 2012, 2013, and 2014 calendar years, as required by 31 U.S.C. § 5314 and its

26   implementing regulations, as well as all associated penalties and interest. Each defendant is

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 1   separately liable for FBAR penalties, and each is separately indebted to the United States of

 2   America in the amount of $249,808.90 as of May 1, 2020.

 3           3.       The United States is entitled to proceed under the Federal Debt Collection

 4   Practices Act (28 U.S.C. § 3001 et seq.) to collect any judgment it obtains in this case, including

 5   the use of all appropriate pre-judgment remedies, post-judgment remedies, and the additional

 6   surcharge as authorized by 28 U.S.C. § 3011.

 7                                                Defendants

 8           4.       Defendant Michael S. Ho (“Mr. Ho”) is a resident of Fremont, California, and

 9   resided in Fremont at the time the events that gave rise to the civil penalties at issue in this action

10   took place. Defendant is a U.S. citizen, and has been a U.S. citizen at all times relevant to the

11   assessment of the outstanding liabilities at issue in this action.

12           5.       Defendant Li H. Tay (“Ms. Tay”) is a resident of Fremont, California, and resided

13   in Fremont at the time the events that gave rise to the civil penalties at issue in this action took

14   place. Ms. Tay is also known as Yvonne. Ms. Tay is a U.S. person, and has been a U.S. person

15   at all times relevant to the assessment of the outstanding liabilities at issue in this action.

16           6.       Defendants Mr. Ho and Ms. Tay are husband and wife.

17                                          Jurisdiction and Venue

18           7.       Jurisdiction over this action is conferred upon this district court by 28 U.S.C.
19   §§ 1331, 1345, and 1355.

20           8.       Venue is proper under 28 U.S.C. §1395(a), 1391(b)(1), or alternatively under 28

21   U.S.C. § 1391(b)(2), because each defendant can be found and resides in this district, and a

22   substantial part of the events or omissions giving rise to the civil penalties (i.e. claim) occurred in

23   this judicial district.

24                                   Legal Authority for FBAR Penalty

25           9.       31 U.S.C. § 5314 authorizes the Secretary of the Treasury to require United States

26   persons to report certain transactions with foreign financial agencies. Under the statute’s
27   implementing regulations, “[e]ach United States person having a financial interest in, or

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 1   signature authority over, a bank, securities, or other financial account in a foreign country shall

 2   report such relationship” to the Internal Revenue Service (“IRS”) for each year in which such

 3   relationship exists. 31 C.F.R. § 1010.350(a).

 4          10.     To fulfill this requirement a person must file a Form TD F 90-22.1 (for the

 5   calendar years 2011 and 2012) or FinCEN Form 114 (for the calendar years 2013 and 2014).

 6   Both Form TD F 90-22.1 and FinCEN Form 114 are titled “Report of Foreign Bank and

 7   Financial Accounts,” and are commonly referred to as an “FBAR.”

 8          11.     For the calendar years at issue (2011, 2012, 2013 and 2014), an FBAR was due by

 9   June 30 “of each calendar year with respect to foreign financial accounts exceeding $10,000

10   maintained during the previous calendar year.” 31 C.F.R. § 1010.306(c).

11          12.     31 U.S.C. § 5321(a)(5) provides for the imposition of civil penalties for failure to

12   comply with the reporting requirements of 31 U.S.C. § 5314.

13                                 Defendants’ Foreign Bank Accounts

14          13.     Since approximately 1991, Mr. Ho has held an account at DBS Bank Ltd. in

15   Singapore, account number ending in -911-1 (“DBS account”).

16          14.     In approximately 2003, Ms. Tay was added as a joint account holder of the DBS

17   account.

18          15.     For the years 2011, 2012, 2013 and 2014, Mr. Ho and Ms. Tay jointly owned and
19   managed the DBS account, and each has personally used and profited from the funds in the

20   account.

21          16.     Funds from the DBS account were used to pay for a life insurance policy on Mr.

22   Ho’s life with Aviva Limited, a foreign insurance company.

23          17.     In 2013 or 2014, Mr. Ho traveled to Singapore to open an account at OCBC Bank,

24   account number ending in -9001 (“OCBC account”).

25          18.     The OCBC account was held in defendant Michael S. Ho’s name.

26          19.     Both Mr. Ho and Ms. Tay held a beneficial financial interest in the OCBC
27   account, and/or had signatory authority over the OCBC account.

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 1            20.   The OCBC account was used to facilitate the purchase of a rental property in

 2   Bangkok, Thailand.

 3            21.   In 2014, Mr. Ho deposited approximately $246,000 in U.S. dollars into the OCBC

 4   account.

 5            22.   During each of the years 2011, 2012, 2013, and 2014 the value of the DBS

 6   account exceeded $10,000 in U.S. currency, and both Mr. Ho and Ms. Tay were each separately

 7   required to report their interest in the DBS account on a timely filed FBAR for each of these

 8   years.

 9            23.   During the year 2014, the aggregate value of the DBS account and OCBC account

10   exceeded $10,000 in U.S. currency, and both Mr. Ho and Ms. Tay were each separately required

11   to report their interests in the DBS account and OCBC account on a timely filed FBAR for the

12   2014 calendar year.

13                                 Defendant’s Tax and FBAR Filings

14            24.   Mr. Ho has a bachelor’s degree in accounting and finance from Edith Cowen

15   College in Australia.

16            25.   Ms. Tay has a bachelor’s degree in marketing from San Jose State University, and

17   does inside sales (providing accounting support) for Interworld, a Malaysian company that sells

18   supplies for pharmaceutical and technology cleanrooms.
19            26.   For each of the years 2011, 2012, 2013, and 2014, Mr. Ho and Ms. Tay filed joint

20   tax returns (IRS Forms 1040).

21            27.   Mr. Ho prepared their joint returns for the 2011, 2012 and 2013 years. Defendants

22   hired a CPA to prepare their 2014 joint tax return.

23            28.   For each of the years 2011, 2012, 2013 and 2014, each of the defendants knew the

24   DBS account balance exceeded $10,000 in U.S. currency; each knew they jointly owned the

25   DBS account, and each knew they separately had signature authority over the DBS account.

26            29.   Both Mr. Ho and Ms. Tay were required to file a Schedule B, Interest and
27   Ordinary Dividends, to their Forms 1040 for each of the years 2011, 2012, 2013, and 2014.

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 1          30.     Mr. Ho and Ms. Tay failed to attach the required Schedule B for the years 2011

 2   and 2013.

 3          31.     For 2012, Mr. Ho and Ms. Tay filed a Schedule B, but falsely answered “no” to

 4   the first question on line 7a of Part III, Foreign Accounts and Trusts (“At any time during 2012,

 5   did you have a financial interest in or signature authority over a financial account (such as a bank

 6   account, securities account, or brokerage account) located in a foreign country? See

 7   instructions.”), indicating that each did not have any such interest or authority over a foreign

 8   account.

 9          32.     For 2014, Mr. Ho and Ms. Tay filed a Schedule B, but falsely answered “no” to

10   the first question on line 7a of Part III, Foreign Accounts and Trusts (“At any time during 2014,

11   did you have a financial interest in or signature authority over a financial account (such as a bank

12   account, securities account, or brokerage account) located in a foreign country? See

13   instructions.”), indicating that each did not have any such interest or authority over a foreign

14   account.

15          33.     Defendants did not report the interest, dividends and other income related to the

16   DBS account on their joint Forms 1040 during the years 2011, 2012, 2013 and 2014, and related

17   to the OCBC account for 2014.

18          34.     However, Mr. Ho and Ms. Tay reported interest, dividends, and other income
19   related to the DBS account and OCBC account on tax returns filed with Singaporean authorities

20   for the years 2011, 2012, 2013 and 2014.

21          35.     During an audit related to his 2009 Form 1040, Mr. Ho falsely stated that he did

22   not have any foreign bank accounts, when in fact he jointly owned the DBS account with Ms.

23   Tay.

24          36.     On April 17, 2013, during an interview for an audit, Mr. Ho falsely stated to an

25   IRS Revenue Agent that he did not have any assets or accounts in foreign countries.

26          37.     On January 27, 2016, both Mr. Ho and Ms. Tay falsely stated to an IRS Revenue
27   Agent that since coming to the United States, neither of them had any foreign accounts or

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 1   businesses. Both had an interest in the foreign DBS account for over a decade, and had

 2   immigrated to the United States in or before 1994.

 3          38.     On October 26, 2016, a representative for Mr. Ho and Ms. Tay informed the IRS

 4   Revenue Agent conducting the audit of the existence of the DBS account and Mr. Ho and Ms.

 5   Tay’s joint ownership of that account.

 6          39.     On September 21, 2017, Mr. Ho and/or Ms. Tay disclosed the existence of the

 7   OCBC account to the IRS Revenue Agent conducting the audit.

 8          40.     When confronted with their failure to report their interests in the DBS account

 9   and the OCBC account on an FBAR, defendants reported their interests in the accounts on

10   FBARs for the 2015 and 2016 calendar years, but did not report their interest in the accounts on

11   an FBAR for the 2011, 2012, 2013 or 2014 years.

12          41.     Mr. Ho and Ms. Tay did not participate in any voluntary disclosure initiative, such

13   as the 2009 or 2011 Offshore Voluntary Disclosure Programs.

14                           COUNT 1: JUDGMENT AGAINST MR. HO

15          Liability for the Civil Penalties

16          42.     During the 2011, 2012, 2013, and 2014 calendar years, Michael S. Ho was a

17   United States citizen, resided within the United States, or was otherwise subject to the

18   jurisdiction of the United States within the meaning of 31 C.F.R. § 1010.350(b).
19          43.     During the 2011, 2012, 2013, and 2014 calendar years, Michael S. Ho had

20   signatory authority over the DBS account, within the meaning of 31 C.F.R. § 1010.350(f).

21          44.     During the 2014 calendar year, Michael S. Ho had signatory authority over the

22   OCBC account, within the meaning of 31 C.F.R. § 1010.350(f).

23          45.     During the 2011, 2012, 2013, and 2014 calendar years, Michael S. Ho had a

24   financial interest in the DBS account, within the meaning of 31 C.F.R. § 1010.350(e).

25          46.     During the 2014 calendar year, Michael S. Ho had a financial interest in the

26   OCBC account, within the meaning of 31 C.F.R. § 1010.350(e).
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 1          47.     The DBS account and OCBC account were bank accounts (31 C.F.R.

 2   § 1010.350(c)(1)) in a foreign country.

 3          48.     During the 2011, 2012, 2013 and 2014 calendar years, the aggregate balance of

 4   the DBS account and OCBC account exceeded $10,000 in U.S. currency at a point in time during

 5   each respective calendar year.

 6          49.     Michael S. Ho had a reportable interest in foreign bank accounts and failed to file

 7   an FBAR with regard to the 2011, 2012, 2013 and 2014 calendar years, by the applicable

 8   deadline, as required by 31 U.S.C. § 5314 and 31 C.F.R. § 1010.306(c).

 9          50.     The failure of Michael S. Ho to timely file FBARs with regard to the 2011, 2012,

10   2013 and 2014 calendar years was willful within the meaning of 31 U.S.C. § 5321(a)(5).

11   Assessment and Collection of the Civil Penalties

12          51.     On June 11, 2018, pursuant to 31 U.S.C. § 5321(a)(5), a duly authorized delegate

13   of the Secretary of the Treasury of the United States of America timely assessed Michael S. Ho

14   with the following civil penalty:
                        Year Financial             Account        Amount of
15                              Institution        number      Penalties Assessed
                        2011 DBS Bank Ltd.          -9111           $50,000
16
            52.     On April 30, 2019, pursuant to 31 U.S.C. § 5321(a)(5), a duly authorized delegate
17
     of the Secretary of the Treasury of the United States of America timely assessed Mr. Ho with the
18
     following civil penalties:
19                      Year Financial             Account        Amount of
                                Institution        number      Penalties Assessed
20
                        2012 DBS Bank Ltd.          -9111           $30,489
21                      2013 DBS Bank Ltd.          -9111           $50,000
                        2014 DBS Bank Ltd.          -9111           $50,000
22                      2014 OCBC Bank              -9001           $50,000

23          53.     The FBAR penalties described in paragraphs 51 and 52 above were assessed

24   pursuant to 31 U.S.C. § 5321(a)(5)(C), due to Mr. Ho’s willful failure to timely disclose each of

25   the foreign accounts at DBS Bank and OCBC Bank.

26          54.     A delegate of the Secretary of Treasury sent Mr. Ho a notice of the assessment of

27   the FBAR penalties described in paragraphs 51 and 52 above, which total $230,489, and demand

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 1   for payment. Despite receiving the notice and demand, Mr. Ho has not paid the assessed

 2   penalties.

 3           55.        The United States is entitled to recover and collect the $230,489.00 in assessed

 4   but unpaid FBAR penalties from Mr. Ho.

 5           56.        In addition, pursuant to 31 U.S.C. § 3717(a)(1), the United States is entitled to

 6   recover prejudgment interest accrued on Mr. Ho’s unpaid penalties. The accrued, but unpaid,

 7   interest was $2,759.99 as of May 1, 2020.

 8           57.        In addition, pursuant to 31 U.S.C. § 3717(e)(2), Mr. Ho owes late-payment

 9   penalties for his failure to pay a lawful debt owed to the United States. The accrued, but unpaid,

10   late-payment penalty was $16,559.91 as of May 1, 2020.

11           58.        In addition, pursuant to 31 U.S.C. § 3717(e)(1), the United States is entitled to

12   recover charges assessed against Mr. Ho to cover collection-related costs of processing and

13   handling his outstanding FBAR liabilities.

14           59.        Mr. Ho is liable to the United States for the FBAR penalties, as well as associated

15   late-payment penalties and interest, in the total amount of $249,808.90, as of May 1, 2020, plus

16   statutory accruals from that date, less any payments, until the liability is paid in full.

17           60.        The United States is entitled to a judgment against defendant Michael S. Ho in the

18   amount of $249,808.90 as of May 1, 2020, plus statutory accruals as provided by law from that
19   date until fully paid.

20           WHEREFORE, the United States respectfully prays that this Court:

21           A.         Enter Judgment in favor of the United States and against Defendant Michael S.

22           Ho in the amount of $249,808.90, as of May 1, 2020, together with late-payment

23           penalties, interest, and any collection costs accruing from that date.

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 1                            COUNT 2: JUDGMENT AGAINST MS. TAY

 2          Liability for the Civil Penalties

 3          61.      During the 2011, 2012, 2013, and 2014 calendar years, Li H. Tay resided within

 4   the United States, or was otherwise subject to the jurisdiction of the United States within the

 5   meaning of 31 C.F.R. § 1010.350(b).

 6          62.      During the 2011, 2012, 2013, and 2014 calendar years, Li H. Tay had signatory

 7   authority over the DBS account, within the meaning of 31 C.F.R. § 1010.350(f).

 8          63.      During the 2011, 2012, 2013, and 2014 calendar years, Li H. Tay had a financial

 9   interest in the DBS account, within the meaning of 31 C.F.R. § 1010.350(e).

10          64.      During the 2014 calendar year, Li H. Tay had a financial interest in the OCBC

11   account, within the meaning of 31 C.F.R. § 1010.350(e).

12          65.      The DBS account and OCBC account were bank accounts (31 C.F.R.

13   § 1010.350(c)(1)) in a foreign country.

14          66.      During the 2011, 2012, 2013 and 2014 calendar years, the aggregate balance of

15   the DBS account and OCBC account exceeded $10,000 in U.S. currency at a point in time during

16   each respective calendar year.

17          67.      Li H. Tay had a reportable interest in foreign bank accounts and failed to file an

18   FBAR with regard to the 2011, 2012, 2013 and 2014 calendar years, by the applicable deadline,
19   as required by 31 U.S.C. § 5314 and 31 C.F.R. § 1010.306(c).

20          68.      The failure of Li H. Tay to timely file FBARs with regard to the 2011, 2012, 2013

21   and 2014 calendar years was willful within the meaning of 31 U.S.C. § 5321(a)(5).

22          //

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 1   Assessment and Collection of the Civil Penalties

 2          69.     On June 11, 2018, pursuant to 31 U.S.C. § 5321(a)(5), a duly authorized delegate

 3   of the Secretary of the Treasury of the United States of America timely assessed Li H. Tay with

 4   the following civil penalty:
                         Year Financial             Account        Amount of
 5                               Institution        number      Penalties Assessed
                         2011 DBS Bank Ltd.          -9111           $50,000
 6
            70.     On April 30, 2019, pursuant to 31 U.S.C. § 5321(a)(5), a duly authorized delegate
 7
     of the Secretary of the Treasury of the United States of America timely assessed Li H. Tay with
 8
     the following civil penalties:
 9                       Year Financial             Account        Amount of
                                 Institution        number      Penalties Assessed
10
                         2012 DBS Bank Ltd.          -9111           $30,489
11                       2013 DBS Bank Ltd.          -9111           $50,000
                         2014 DBS Bank Ltd.          -9111           $50,000
12                       2014 OCBC Bank              -9001           $50,000

13          71.     The FBAR penalties described in paragraphs 69 and 70 above were assessed

14   pursuant to 31 U.S.C. § 5321(a)(5)(C), due to Ms. Tay’s willful failure to timely disclose each of

15   the foreign accounts at DBS Bank and OCBC Bank.

16          72.     A delegate of the Secretary of Treasury sent Ms. Tay a notice of the assessment of

17   the FBAR penalties described in paragraphs 69 and 70 above, which total $230,489, and demand

18   for payment. Despite receiving the notice and demand, Ms. Tay has not paid the assessed

19   penalties.

20          73.     The United States is entitled to recover and collect the $230,489.00 in assessed

21   but unpaid FBAR penalties from Ms. Tay.

22          74.     In addition, pursuant to 31 U.S.C. § 3717(a)(1), the United States is entitled to

23   recover prejudgment interest accrued on Ms. Tay’s unpaid penalties. The accrued, but unpaid,

24   interest was $2,759.99 as of May 1, 2020.

25          75.     In addition, pursuant to 31 U.S.C. § 3717(e)(2), Ms. Tay owes late-payment

26   penalties for her failure to pay a lawful debt owed to the United States. The accrued, but unpaid,

27   late-payment penalty was $16,559.91 as of May 1, 2020.

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 1           76.     In addition, pursuant to 31 U.S.C. § 3717(e)(1), the United States is entitled to

 2   recover charges assessed against Ms. Tay to cover collection-related costs of processing and

 3   handling her outstanding FBAR liabilities.

 4           77.     Ms. Tay is liable to the United States for the FBAR penalties, as well as

 5   associated late-payment penalties and interest, in the total amount of $249,808.90, as of May 1,

 6   2020, plus statutory accruals from that date, less any payments, until the liability is paid in full.

 7           78.     The United States is entitled to a judgment against defendant Li H. Tay in the

 8   amount of $249,808.90 as of May 1, 2020, plus statutory accruals as provided by law from that

 9   date until fully paid.

10           WHEREFORE, the United States respectfully prays that this Court:

11           B.      Enter Judgment in favor of the United States and against defendant Li H. Tay in

12           the amount of $249,808.90, as of May 1, 2020, together with late-payment penalties,

13           interest, and any collection costs accruing from that date;

14           C.      Award the United States its costs in this action, and any other further relief as the

15           Court may find necessary or appropriate.

16   DATED this 10th day of June, 2020.
                                                    Respectfully submitted,
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18                                                  RICHARD E. ZUCKERMAN
                                                    Principal Deputy Assistant Attorney General
19
                                                    /s/ Nithya Senra
20                                                  NITHYA SENRA
                                                    Trial Attorney, Tax Division
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                                                    U.S. Department of Justice
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